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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CARLOS VEGA ef al., :
Plaintiffs : CIVIL ACTION
Vv. :
CITY OF PHILADELPHIA ef ai, : No. 19-4039
Defendants :

ORDER
AND NOW, this [5 des of October, 2022, upon consideration of the parties’ Stipulation
to Dismiss Defendant Lawrence Krasner (Doc. No. 102), itis hereby ORDERED that Mr. Krasner

is dismissed from this case with prejudice, with each party to bear its own costs.

      
   

Pld ode of OA. th Clot.
(GENE E.K, PRATTER

UNITED STATES DISTRICT JUDGE

 
